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 1   LAWRENCE G. BROWN
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 4   Telephone: (916) 554-2781
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )   Case No. CR-S-06-455 WBS
                                      )
12             Plaintiff,             )   GOVERNMENT’S MOTION TO DISMISS THE
                                      )   INDICTMENT AS TO DEFENDANT TONY
13        v.                          )   KETMANY AND ORDER
                                      )
14   TONY KETMANY,                    )
                                      )
15                                    )
                                      )
16                                    )
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          The United States of America, through its attorneys of record,
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     Assistant U.S. Attorney Jill Thomas, hereby moves for an order
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     dismissing the indictment, specifically Counts One and Two, against
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     defendant Tony KETMANY pursuant to Federal Rule of Criminal Procedure
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     48(a).
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          Background
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          On November 9, 2006, a Sacramento federal Grand Jury returned an
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     indictment against defendant Tony KETMANY along with three others in
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     a case related to a conspiracy to distribute and to possess with
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     intent distribute MDMA and marijuana in violation of 21 U.S.C. §
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     841(a)(1) and 21 U.S.C. § 846 in Case No. CR-S-06-455 WBS.
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 1        In May and June 2009, the government obtained exculpatory
 2   information related to the case pending against Tony KETMANY.         This
 3   resulted in the government’s belief that insufficient evidence exists
 4   to sustain a conviction concerning defendant Tony KETMANY, who was
 5   not detained pretrial.
 6        Based on the above recently obtained exculpatory information,
 7   the undersigned hereby moves to dismiss with prejudice Counts One and
 8   Two against Tony KETMANY in Case No. CR-S-06-455 WBS in the interests
 9   of justice pursuant to Rule 48(a).
10
11                                        Respectfully Submitted,
12                                        LAWRENCE G. BROWN
                                          Acting United States Attorney
13
14   DATED:   June 9, 2009            By:/s/ Jill Thomas
                                         JILL M. THOMAS
15                                       Assistant U.S. Attorney
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 1                                       ORDER
 2        For the reasons set forth in the motion to dismiss filed by the
 3   United States, IT IS HEREBY ORDERED that:
 4        1.   Counts One and Two of the Indictment in Case No. CR-S-
 5   06-455 WBS as to defendant Tony KETMANY is hereby DISMISSED pursuant
 6   to Federal Rule of Criminal Procedure 48(a) with prejudice.
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 8   DATED: June 8, 2009
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